971 F.2d 766
    297 U.S.App.D.C. 303
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.Maria TURNER, Appellant,v.GEORGETOWN UNIVERSITY, a corporation aka President andDirectors of Georgetown College.
    No. 91-7018.
    United States Court of Appeals, District of Columbia Circuit.
    Aug. 4, 1992.Rehearing and Rehearing En Banc DeniedOct. 21, 1992.
    
      Before MIKVA, Chief Judge;  and EDWARDS and SENTELLE, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This appeal was considered on the record from the United States District Court for the District of Columbia and on the briefs filed by the parties.   The court has determined that the issues presented occasion no need for an opinion.   See D.C.Cir.Rule 14(c).   It is
    
    
      2
      ORDERED AND ADJUDGED that the district court's order granting summary judgment in favor of Georgetown University be affirmed, substantially for the reasons stated in the district court's memorandum filed December 17, 1990.
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.   See D.C.Cir.Rule 15.
    
    